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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION


ANDREA GOLDBLUM,

                 Plaintiff,

                 v.                                                      Case No. 1:19-cv-00398
                                                                         (Dlott, J.; Bowman, M.J.)
UNIVERSITY OF CINCINNATI,

                 Defendant.
                        _______________________________________

                               Preliminary Pretrial Conference Notice
                            _______________________________________

        Pursuant to Rule 26(f) Fed. R. Civ. P., all counsel and any pro se parties to this action must
agree on a date for a discovery conference. As the result of such conference, the parties must file
the required Joint Report of the Parties not later than fourteen (14) days after the discovery
conference is conducted. Unless agreed to by the parties in the discovery plan, or otherwise
exempted pursuant to Fed. R. Civ. P. 26(a)(1)(B), the parties shall make the disclosures required
by Fed. R. Civ. P. 26(a)(1) at or within fourteen days after the discovery conference. Rule
26(a)(1) Disclosures are NOT to be filed with the Court. It is only necessary to file a Rule
26(f) Joint Report of the Parties within the required time.

       The parties must comply with the above mandates of Fed. R. Civ. P. 26(f) and file the
Rule 26(f) Report of the Parties by August 29, 2019. The Court will thereafter, pursuant to
Rule 16(b), enter a Calendar Order or will set and hold a Scheduling Conference after which
a Calendar Order will be issued.



                                                      Kevin Moser
                                                      Courtroom Deputy



  You can obtain all the pretrial forms such as the Rule 26(f) Report of the Parties and Trial Procedures used by each
                                Judge by visiting our website at www.ohsd.uscourts.gov
      Click on Judges, select the District Judge or Magistrate Judge and then Standing Orders for that Judge.
